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                                           United States Department of Agriculture

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Animal and Plant          June 23, 2014
Health Inspection
Service

Animal Care
Western RSgjon
                          Pamela Sellner                                              Registration Number: 42-C-0084
                          Cricket Hollow Zoo                                          Customer Number: 5143
2150 Centre Avenue        1512 210'" Street
Building 8, 3W11          Manchester lA 50257
Fort Collins. CO
80526
Phone: 970/494-7478        Dear Ms. Sellner
Fax: 970/~94-7461

                          We. have reviewed your letter sent on June 2, 2014, wherein you appeal the findings on the
                          May 12 an-d May 21, 2014 inspection reports. After review of your correspondence, the
                          inspection reports were evaluated for. appropriateness and consistency
                                                                                              .     with the
                          regulations and standards as contained in Title 9 of the Code of Federal Regulations,
                          Chapter 1, Subchapter A. At this time, we could not find sufficient justification to remove
                          the documented citations. Please note that when you sign the application and agree to the
                          condition of licensure, you agree to comply with the Animal Welfare Act and its regulations
                          and standards as a USDA licensed facility. Facilities are expected to meet or exceed all
                          standards and regulations in the Animal Welfare Act at all times.

                          With regard to the attempted inspection done on May 12, 2014; our inspectors do not
                          inspect in dangerous conditions. The two inspectors present on that attempted inspection
                          stated that there was no thunder and lightning in the area at the time they attempted to
                          conduct an inspection.

                          To address your concern that the inspectors did not secure doors and that they breached
                          your facilities biosecurity protocols: at facilities that are open to the public such as a zoo,
                          our inspectors follow the security and biosecurity as directed by the facility. For instance, if
                          footbaths or protective clothing is required by the facility and this is stated to the
                          inspectors, that protocol will be followed. The inspectors did not receive·.a request from
                          the licensee to follow any such protocol nor were they directed to' open or close any doors
                          at the facility. In addition, neither inspector went to any other facility the day of your
                          inspection so no breach of biosecurity could have occurred.

                         You state that you are aware of regulated facilities that are not in compliance with the
                         Animal Welfare Act regulations and standards. USDA APHIS Animal care will investigate
                         any claims that you have regarding other exhibitors tt.at you feel are not in compliance.
                         Please submit your specific information, including names and locations to the Regional
                         Office at the address above and your complaint will be addressed.

                         With regard to your request that a new Inspector be assigned to your facility, I do not find
                         any reason or evidence to support a change of inspectors. It has been my experience that
                         Dr. Heather Cole is a professional of the highest caliber and conducts herself as such. If you
                         have any specific evidence to the contrary, then please present that information to the
                         Regional Office for consideration and review.


                    An Equal Opponunity Provider and Employer
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  We appreciate that you have already addressed some of the non-compliant items noted on
  the inspection May 21, 2014 report and trust that all others will be addressed by the timelines
  given on the inspection report.

   If you wish to appeal this determination to the Regional Director, please know that if we do
   not hear from you within 30 days, the original inspection report and any amendments will be
   posted online at that time.

   I hope this letter has satisfactorily addressed your concerns. If you have any further questions
   regarding the Animal Welfare Act and its regulations and standards, please feel free to
  address them in writing at the above address. The welfare of your animals is our shared
  concern.


 Sincerely,

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                  ,..:......
 Tanya Tims, DVM
 Supervisory Veterinary Medical Officer
 USDA, APHIS, Animal Care




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An Equal Opportunity Provider and Employer
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